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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWNSVILLE DIVISION

 JOSE GUTIERREZ                                 §
 and                                            §
 THE ESTATE OF JOSE SMITH                       §
      Plaintiffs,                               §
                                                §
                                                §
 v.                                             §      Case No. 1:22-cv-00051
                                                §
 CARRINGTON MORTGAGE                            §
 SERVICES, LLC                                  §
 and                                            §
 W.D. LAREW, SUBSTITUTE                         §
 TRUSTEE,                                       §
       Defendants.                              §



                                 JOINT STIPULATION OF DISMISSAL


         Plaintiffs JOSE GUTIERREZ and THE ESTATE OF JOSE SMITH (“Plaintiffs”) and

Defendants CARRINGTON MORTGAGE SERVICES, LLC and W.D. LAREW, SUBSTITUTE

TRUSTEE (“Defendants”) (“collectively the “Parties”), by and through their undersigned counsel,

hereby stipulate and agree that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all

claims and causes of action asserted or could have been asserted by Plaintiffs against Defendants

are hereby dismissed with prejudice, pursuant to the Parties’ agreement. Evidence of stipulation is

attached hereto as Exhibit A.




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                                            Respectfully submitted,

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                                            TURNER & ENGEL, LLP

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                                            THE LAW OFFICE OF JUAN
                                            ANGEL GUERRA
                                            _/s/_Juan Angel Guerra (Signed with permission.
                                            See Exhibit A)_
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 31st day of August 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

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                                                      /s/ Mavish Bana
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